      Case 2:18-cr-00422-DJH Document 1620 Filed 06/28/23 Page 1 of 3



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19
20                       IN THE UNITED STATES DISTRICT COURT

21                                FOR THE DISTRICT OF ARIZONA

22
     United States of America,                          No. CR-18-00422-PHX-DJH
23
                              Plaintiff,             UNOPPOSED MOTION TO EXTEND
24                                                      DEADLINE TO FILE CASE
               v.                                        RELATED DOCUMENTS
25
26   Michael Lacey, et al.,

27                            Defendants.

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      Case 2:18-cr-00422-DJH Document 1620 Filed 06/28/23 Page 2 of 3




 1          The United States requests that the deadline to file the case related documents,
 2   namely, the Joint Pretrial Memorandum; Joint Statement of the Case; Joint Proposed
 3   Verdict Forms; and Joint Proposed Jury Instructions be extended one day from June 29,
 4   2023 to June 30, 2023. (Doc. 1524 at 4-5) (Doc. 1546 at 6-7.) Given the parties’ schedules,
 5   one additional day is requested to ensure that the parties have sufficient time to incorporate
 6   each party’s specific requests and objections. The United States has conferred with
 7   Defendants’ counsel, and they don’t object to this modest extension. A proposed form of
 8   order is submitted herewith.
 9          Respectfully submitted this 28th day of June, 2023.
10
                                                GARY M. RESTAINO
11                                              United States Attorney
                                                District of Arizona
12
13                                              s/ Andrew C. Stone
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14                                              MARGARET PERLMETER
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      Case 2:18-cr-00422-DJH Document 1620 Filed 06/28/23 Page 3 of 3




 1                               CERTIFICATE OF SERVICE
 2         I hereby certify that on this 28th day of June, 2023, I electronically transmitted the
 3   attached document to the Clerk’s Office using the CM/ECF system for filing and
 4   transmittal of a Notice of Electronic Filing to the following CM/ECF registrants who have
 5   entered their appearance as counsel of record.
 6
 7   s/ Gaynell Smith
     U.S. Attorney’s Office
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